255 F.2d 668
    Raymond QUINTIN, Libelant-Appellant,v.SPRAGUE STEAMSHIP COMPANY, Respondent-Appellee.
    No. 116, Docket 24775.
    United States Court of Appeals Second Circuit.
    Petition Filed Feb. 27, 1958, Decided May 19, 1958.
    
      Henry Fogler, New York City, for libelant-appellant.
      Thacher, Proffitt, Prizer, Crawley &amp; Wood, New York City (Edward C. Kalaidjian and Robert S. Stitt, New York City, of counsel), for respondent-appellee.
      On Petition for Rehearing.
      Before CLARK, Chief Judge, MOORE, Circuit Judge, and SMITH, District Judge.
      PER CURIAM.
    
    
      1
      On this petition for rehearing the court has received and carefully considered the further extensive arguments of the parties.  Upon this consideration the court has determined that in the interests of justice the decree entered below should be vacated and the action remanded to Judge McGohey for further findings of fact.  The findings which we believe should be clarified and supplemented are as indicated and discussed in the opinions of this court, 2 Cir., 252 F.2d 812, 815.  In his discretion Judge McGohey may take action upon the basis of the record already before him or may hold additional hearings and receive additional evidence as he may determine. Libelant's various motions in this court directed to the presentation of further evidence herein are inappropriate and are denied.
    
    
      2
      Decree vacated and action remanded for proceedings consistent with this opinion.
    
    